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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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DAN HUANG,                                                       :
                                                                 :      OPINION AND ORDER
                                     Plaintiff,                  :
                                                                 :      14-CV-7204 (PK)
                           -against-                             :
                                                                 :
SHAO YU LIN, MONICA WANG, WALIND                                 :
HOME DESIGN INC., and WALAND                                     :
TRADING CORP.,                                                   :
                                                                 : :
                                     Defendants.                 :
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Peggy Kuo, United States Magistrate Judge:

         Plaintiff Dan Huang filed this action on December 10, 2014, alleging assault and battery, as

well as violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq.; the Fair

Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. §§ 201 et seq.; New York Labor Law (“NYLL”)

§§ 650 et seq.; New York Codes, Rules, and Regulations; New York State Human Rights Law; and

New York City Human Rights Law. (See Compl., Dkt. 1; Am. Compl., Dkt. 48.) Plaintiff alleged in

the Amended Complaint that Defendants Walind Home Design Inc., Waland Trading Corp.,

Monica Wang, and Shao Yu Lin assaulted her, subjected her to sexual harassment and

discrimination, created a hostile work environment, and failed to pay her minimum wage, overtime

pay, and spread-of-hours premiums. (Id.)

         Because Plaintiff has failed to prosecute the action, the action is dismissed without prejudice

pursuant to Federal Rule of Civil Procedure 41(b).

                                                 BACKGROUND

         Plaintiff worked as a salesperson for Defendants from late 2013 to mid-2014. (See Am.

Compl.) She asserted in the Amended Complaint that over the course of her employment,

Defendants sexually harassed her and subjected her to “a hostile and intimidating work


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environment” based on her gender; the alleged harassment culminated in a violent incident in which

Defendant Lin struck her in the face, resulting in her hospitalization. (Id. ¶¶ 26-40.) Plaintiff

subsequently obtained a temporary restraining order against Defendant Lin. (Id. ¶ 38.)

        Plaintiff brought claims for hostile work environment under Title VII and New York State

and City Human Rights Law, negligent and intentional infliction of emotional distress, and assault

and battery. (Id. at 7-10.) She also brought claims under the FLSA and NYLL for failure to pay

minimum wage, overtime, and spread-of-hours pay, and pay rate and record keeping violations. (Id.

at 10-14.) Defendants answered the Complaint in January 2015, and an initial conference was held

before Magistrate Judge Viktor Pohorelsky in March 2015. (See Answer, Dkt. 9; March 5, 2015

Mins., Dkt. 13.) Plaintiff’s counsel filed a motion to withdraw in May 2015, which the Court

granted, and Plaintiff’s incoming counsel noticed their appearances in July 2015. (See Dkt. 17; June

26, 2015 Mins., Dkt. 19; Dkts. 20-22.) In October 2015, the matter was reassigned to the

undersigned.

        The parties engaged in discovery throughout 2015 and 2016, filing discovery motions and

appearing in conferences before the Court. On April 27, 2017, Plaintiff’s counsel informed the

Court that they had been unable to contact Plaintiff since November 2016 “[d]espite multiple

attempts, including the use of a private investigator’s services.” (See April 27, 2017 Status Report,

Dkt. 59.) Counsel requested that the Court give Plaintiff until May 26, 2017 to contact her counsel,

advising the Court that they would file a motion to withdraw if she failed to do so. (Id.) The Court

directed the parties to file a joint status report by May 26, 2017 addressing “whether Plaintiff’s

counsel has made contact with Plaintiff.” (May 1, 2017 Order.) In the subsequent status report,

Plaintiff’s counsel confirmed their “continued failure to make any contact with Plaintiff, despite

multiple efforts and various methods,” and requested an extension until June 9, 2017 to submit a

motion to withdraw as counsel. (May 26, 2017 Status Report, Dkt. 61.) The Court granted the

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request. (See May 30, 2017 Order.) On June 9, 2017, the parties consented to the undersigned’s

jurisdiction and Plaintiff’s counsel filed the motion to withdraw. The Court ordered Plaintiff to

attend a hearing on the motion scheduled for June 30, 2017. (See June 9, 2017 Order.)

        When Plaintiff failed to appear at the hearing, the Court granted the motion to withdraw,

“finding good cause based on a breakdown in Plaintiff’s attorney-client relationship with [her

counsel].” (June 30, 2017 Mins.) The Court directed Plaintiff “to retain new counsel, who shall

notice their appearance, or [to] file a letter with the Court if [Plaintiff] intends to proceed pro se, by

August 30, 2017.” (Id.) Plaintiff was warned that “[f]ailure to do so may result in a dismissal of this

matter for failure to prosecute pursuant to Federal Rule of Civil Procedure 41(b).” (Id.) The Court

mailed a copy of the Minute Order to Plaintiff’s address.

        No new counsel appeared and Plaintiff did not file any letter with the Court. On September

6, 2017, the Court ordered Plaintiff to file a letter by September 20, 2017 “addressing whether she

has retained counsel or will proceed pro se,” again noting that “[f]ailure to do so may result in a

dismissal of this matter for failure to prosecute pursuant to Federal Rule of Civil Procedure 41(b).”

(See September 6, 2017 Order.) The Court mailed a copy of the Order to Plaintiff but it was

returned as undeliverable on November 22, 2017. (See Dkt. 66.)

                                             DISCUSSION

        Pursuant to Federal Rule of Civil Procedure 41(b), a defendant may move to dismiss an

action based on the plaintiff’s failure to prosecute. Even where, as here, a defendant has not moved

for dismissal, the Court has “unquestioned” authority to order dismissal on this basis sua sponte.

LeSane v. Hall’s Sec. Analyst, Inc., 239 F.3d 206, 209 (2d Cir. 2001). In deciding whether to dismiss for

failure to prosecute, courts assess the following factors, none of which is dispositive on its own:

        (1) the duration of the plaintiff’s failure to comply with the court order, (2) whether
        plaintiff was on notice that failure to comply would result in dismissal, (3) whether the
        defendants are likely to be prejudiced by further delay in the proceedings, (4) a

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        balancing of the court’s interest in managing its docket with the plaintiff’s interest in
        receiving a fair chance to be heard, and (5) whether the judge has adequately
        considered a sanction less drastic than dismissal.

Baptiste v. Sommers, 768 F.3d 212, 216 (2d Cir. 2014) (quoting Lucas v. Miles, 84 F.3d 532, 535 (2d Cir.

1996)). Courts have dismissed for failure to prosecute where, for example, counsel was unable to

contact plaintiff for an extended period or plaintiff failed to comply with court orders. See Kenny v.

Potter, No. 05-CV-1415 (KAM)(JMA), 2011 WL 613346, at *3 (E.D.N.Y. Jan. 24, 2011) (dismissing

after “six months of inactivity on the docket” and where plaintiff’s counsel could not contact plaintiff),

R&R adopted, 2011 WL 646919 (E.D.N.Y. Feb. 11, 2011); Rafaniello v. Travelers Cas. Co., No. 14-CV-

3385 (NGG)(MDG), 2016 WL 4991544, at *2 (E.D.N.Y. Feb. 22, 2016) (dismissing where plaintiffs

“have not filed any documents or taken any action indicating any interest in pursuing [their] claims”

despite multiple orders), R&R adopted, 2016 WL 5061112 (E.D.N.Y. Sept. 16, 2016); Robinson v. Sposato,

No. 13-CV-3334 (JFB)(WDW), 2014 WL 1699001, at *2 (E.D.N.Y. Apr. 24, 2014) (dismissing where

plaintiff failed to “timely file a new complaint, as directed by the Court, or otherwise communicate[ ]

with the Court”).

        The Court finds that dismissal is warranted here. Plaintiff has not responded to her counsel

since November 2016 and has not complied with multiple court orders entered since June 2017; as a

result, the case has lain dormant. The Court repeatedly notified Plaintiff that failure to retain

counsel or proceed pro se could result in dismissal for failure to prosecute. (See June 30, 2017 Mins.;

September 6, 2017 Order.) In light of Plaintiff’s unexplained, prolonged disappearance from this

action, prejudice to Defendants “may be presumed.” Parker v. City of New York, No. 14-CV-7546

(MKB)(MDG), 2015 WL 7566296, at *2 (E.D.N.Y. Nov. 4, 2015), R&R adopted, 2015 WL 7568643

(E.D.N.Y. Nov. 24, 2015). The balance of the Court’s interest in maintaining judicial economy and

Plaintiff’s interest in receiving further opportunities to be heard weighs in favor of dismissal. The

Court finds that lesser sanctions would not be effective in light of these circumstances.

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        However, the Court dismisses Plaintiff’s claims without prejudice in order to preserve her

right to file a new action in pursuit of her claims.

                                            CONCLUSION

        For the foregoing reasons, this action is dismissed without prejudice.



Dated: Brooklyn, New York                                  SO ORDERED:
       March 12, 2018

                                                            Peggy Kuo
                                                           PEGGY KUO
                                                           United States Magistrate Judge




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